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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            District of Columbia
                                             __________     District of __________


                  Campaign Legal Center                        )
                             Plaintiff                         )
                                v.                             )      Case No. 20-588
               Federal Election Commission                     )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Amicus Curiae, the Institute for Free Speech                                                                  .


Date:          05/29/2020                                                                  /s/ Zac Morgan
                                                                                         Attorney’s signature


                                                                                     Zac Morgan (No. 1032211)
                                                                                     Printed name and bar number

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